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VS- ` No. 04 - 10089 - T/An
O»‘ - 3 o 295 ~ 7
JosH YouNG,
Defendant.

 

ORDER GRANT|NC MOT|ON TO CONT|NUE
SENTENC|NG HEAR|NG

 

Thi'§cause came before the Court upon the defendant’s Motion to
Continue Sentencing Hearing, and With consent of the United States of America
and counsel for the co-defendant, Branc|on Carpenter. For good cause shown,

Defendant’s |V|otion is granted. The sentencing hearing is reschedu|ed to

U¢'¢n€ QL,{ 3005 m‘ A"‘-“f§,a.m

|T |S SO ORDERED.

CYWAM

Mé/S D. TODD
JCHIEF UN|TED STATES DlSTR|CTJUDGE

DATE: § /%AJ SMJ/

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UNITED `sETATsDIsTRICT COURT - WESERNT D"'TRCT 0 TEs sEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 192 in
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Honorable J ames Todd
US DISTRICT COURT

